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19-23187-rdd   Doc 10-6   Filed 07/26/19 Entered 07/26/19 15:02:06   Exhibit B:
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19-23187-rdd   Doc 10-6   Filed 07/26/19 Entered 07/26/19 15:02:06   Exhibit B:
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